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EXHIBIT 9
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- 3
1 IN THE UNITED STATES DISTRICT COURT 1 INDEX
> FOR THE DISTRICT OF MASSACHUSETTS 2 WITNESS: FRANK M. BERKLOCICH
3. IN RE: NEURONTIN MARKETING, SALES } 3 INDEX OF EXAMINATIONS
PRACTICES AND PRODUCTS LIABILITY } 4 Page/Line
4 TEGATION
LITIGATIO } ) 5 ByMr. Ferguson... G49
5 } 6 By Mr. Lanier oa 3% 12
5 ? INDEX OF EXHIBITS
) CASE NO. 3 Page/Line
7 }04-10981 POND cee: 96 8
THIS DOCUMENT RELATES TO: } 40
8 )
RUTH SMITH, Individually and as} 11
9 Widow for the use and benefit of ) 42
herself and the next ofkin of =)
10 Richard Smith, deceased. } 13
) 14
11 *CV-4151
05-C 5 } 15
12 16
3 7
14 VIBDEOTAPED DEPOSITION OF
15 FRANK M. BERKLACICH, M.D. 18
16 Taken on Behalf of the Defendant 19
a7 June 7, 2007 20
18
19 21
20 22
21
22 23
23 24
24
25 25
2 4
4 APPEARANCES: 1
2 For the Plaintiff: . ae
3 MARK LANIER 2 Tha videotaped deposition of FRANK M.
DARA HEGAR 3. BERKLACICH, M.0., taken on behalf of the
4 PATRICK O'HARA 4  [Detfendant, on the 7th day of June, 2007, in the
Lanier Law Firm
5 6810 F.M. 1960 West § offices of Tennessee Joint and Spine, 2011 Murphy
Houston, Texas 77069 6 Avenue, Suite 309, Nashville, Tennessee, for all
6 713,859,
rhe eeaenie 7 purposes under the Federal Rules of Civil
7 wml@lanierlawfirm.com 8 Procedure.
8 ANDREW G. FINKELSTEIN : .
. : 9 The formalities as to notice,
Finkelstein & Partners
9 436 Robinson Avenue 10 caption, certificate, et cetera, are waived. All
Newodurgh, New York 12550 ani tas to the f th
10 00.6394.1212 11. = objections, except as to the form of the
afinkelstein@!awampm.com 12 questions, are reserved to the hearing.
11 13 It is agreed that Elisabeth A.
12. For the Defendant: . .
14 KENNETH J. FERGUSON 14 Miller, being a Notary Public and Court Reporter
Clark, Thomas & Winters 15 forthe State of Tennessee, may swear the witness,
14 P.O. Box 4148 . .
Austin, Texas 78767 16 and that the reading and signing of the completed
a5 + 512.472.8800 17 deposition by the witness are waived.
512.474.1129 18
16 Kii@ctw.com
WV 49
Also Present: Sheldon Singh, Videographer 20
18 Wesiey Henry
49 nH wee
20 22
24
20 23
23 24
24
26 25

 

Neurontin Track Gne (Plaintiff / Prescriber / Expert Depos}

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41 43

q @. What struck me is, in your form itself, 1 complications.

2 you ask people if they've got any change in mood. 2  @. — [would assume you'd also rely on them

3 So I'm assuming that's something that's nat 3 to -- to put the right information in the PDR, in

4 unusual for you to see with people who have 4 their label; is that fair to say?

5 — chronic pain that they're having to deal with day 6 <A. That's fair to say.

6 in, day out; is that fair to say? 6 Q. By the same token, | guess to the extent

7 A. _— It's much more common with chronic pain 7 the FDA is involved in the label, you hope they're
& than itis acute pain. “8 being upfront with the FDA as well, true?

9 ©. And that’s what this gentleman had, he had 9 A. Correct.

10. chronic pain, right? 10 4 6©Q. [sit important that - when you say POR,
100A. Correct. 11. we know what that is in this room, and the jury

12. Q. ~~ Now, you didn’t have — we've got, | 12 has probably learned what it is if they didn't

13° guess, 56 pages of your chart here -- or your ~ 13. know already. It's the Physician's Desk

14 your records. | didn’t see any entries in hera 14 Reference, right?

15 that -- that showed you thought or any of your 15 A. Correct.

16 , staff thought that Mr, Smith was suicidal in any 16 Q@ its abound volume - actually, depanding
17 = way. You — you never had that indication, did 17 ~~ on how you classify it, sevaral volumes. But

18 you? 18 it's — there's a bound volume, big old thick

19 A. Well, we don't really deal with that in 19 book, that's got every label for every

20 ~~ terms of our questionnaire, because we're not — 20 ~~ prescription drug that's baing sold in America

21 we're not really equipped to deal with that sort 21. with FDA approval, right?

22 ~~ of complaint. 22 =A. Gorrect.

23. Q. ~~ [understand that, sir, but I'm saying 23° &. ~~ In fact, it's got a section with pictures

24 ~~ sif - if you'd found any reason to think he was 24 ~— of those drugs where you can {ook at the pill too,
25 suicidal, | would think y'all would have a medical 25 right?

42 44

1 obligation not just to note it but to try and deal 4+ A. Corract.

2 swith it; is that right? 2 ©. And you doctors are able to look in that

3. A. Yeah, we do - yeah, we do see that 3. book if you want to check to see what a drug is

4 occasionally, and we do — 4 indicated for, right?

5 Q. Okay. 5 A. Correct.

6 A. «respond just as you said, 5 Q. And by indications, we mean what the FDA's
7 Q. Okay. And you never saw that Mr. Smith, 7° approved it for; is that right?

8 = did you? & A. (Witness nodded head.)

9 A. No. 8 @. — In addition to that, you're able to look

10 Q. By the same tcken, when he was seeing you, 10 in that book and figure out what wamings the drug
11. he was not on the drug Neurontin, was he? 11. company is putting out with their drug, right?

12. A. Not on the questionnaire did he indicate 12 MR. FERGUSON: Object to form.

13. that — that he was taking that. 13 THE WITNESS: Right.

14 @ You never prescribed him Neurontin 14. BY MR. LANIER:

15 yourself, did you? 15 ©. Are you able to put out -- are you able to

16 OA. No. 16 read about what precautions the drug company puts
17 Q. When you prescribe drugs, is it important 17 = out there?

18 to you as a doctor that the drug companies be 18 MR. FERGUSON: Same objaction.

18 upfront with you about their drugs and what side 19 THE WITNESS: They do have notations
20 ~—s effects they might have? 20 sin there regarding that, as well as —
21 A. Well, the — the usual information we get 21. BY MR. LANIER: .
22 is fram the POR, bul, you know, sometimes with the 22 Q. Warnings?
23s newer medication, the drug reps are there. And 23.0 OA. -- combined drug interaction, drug-drug
24 ~—s-you're right, we do rely on them to be 24 ~~ interaction.
25 — straightforward about potential side effects and 25 @. Very good.

 

 

Neurontin Track One (Plaintiff / Prescriber / Expert Depos)

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